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                                                            EXHIBIT 11
                                                 UNITED STATES PATENT NO. 11,805,267
                                 CLAIM CHART FOR INFRINGEMENT OF CLAIM19 BY ASUS ACCUSED PRODUCTS

As demonstrated in the chart below, ASUS directly and indirectly infringes the asserted claims of US 11,805,267 (the “’267 Patent”).
ASUS directly infringes, contributes to the infringement of, and/or induces infringement of the ’267 Patent by making, using, selling,
offering for sale, and/or importing into the United States the Accused Products that are covered by one or more claims of the ’267 Patent.
The Accused Products are devices that decode AV1-compliant video and/or encode video into an AV1-compliant format. For example,
ASUS Q543MV Notebook (“ASUS Q543MV”) is a representative product for other ASUS devices that decode AV1-compliant video
and/or encode video into an AV1-compliant format.

       The ASUS Q543MV contains at least one video decoder that helps decode AV1-compliant video. Additionally, the ASUS
Q543MV contains at least one video encoder that helps encode video into an AV1-compliant video format. 1 While evidence from the
ASUS Q543MV is specifically charted herein, the evidence and contentions charted herein apply equally to the other ASUS Accused
Products that decode AV1-compliant video. On information and belief, the evidence and contentions charted herein apply equally to the
other ASUS Accused Products that encode video into an AV1-compliant format.

      No part of this exemplary chart construes, or is intended to construe, the specification, file history, or claims of the ’267 Patent.
Moreover, this exemplary chart does not limit, and is not intended to limit, Nokia’s infringement positions or contentions.

       The following infringement chart also includes exemplary citations to the AV1 Bitstream & Decoding Process Specification,
rev’d Jan. 8, 2019 (the “AV1 Specification”). 2 Any ASUS device that includes a decoder that practices the functionality in the AV1
Specification (“AV1 Decoder”) practices the claims of the ’267 Patent. Thus, the Accused Products each practice the AV1 Specification
and are covered by claims of the ’267 Patent.

       Nokia contends each of the following limitations is met literally, and, to the extent a limitation is not met literally, it is met under
the doctrine of equivalents. 3


1
 See, e.g., https://www.asus.com/us/laptops/for-home/everyday-use/asus-vivobook-pro-15-oled-q543/techspec/;
https://www.intel.com/content/www/us/en/products/sku/236849/intel-core-ultra-9-processor-185h-24m-cache-up-to-5-10-ghz/specifications.html;
https://developer.nvidia.com/video-encode-and-decode-gpu-support-matrix-new.
2
    Available here: https://aomediacodec.github.io/av1-spec/av1-spec.pdf
3
 This claim chart is based on the information currently available to Nokia and is intended to be exemplary in nature. Nokia reserves all rights to update and
elaborate its infringement positions, including as Nokia obtains additional information during discovery.

                                                                                1
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                                                  EXHIBIT 11
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                       CLAIM CHART FOR INFRINGEMENT OF CLAIM19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                            ACCUSED PRODUCTS
19. [A] A method for        Each of the Accused Products, such as the ASUS Q543MV, performs a method for decoding a block of
decoding a block of pixels, pixels.
the method comprising:
                            For example, and without limitation, the Asus Q543MV uses hardware-accelerated video decoding and
                            includes an NVIDIA GeForce RTX 4060 Laptop graphics processing unit (“GPU”) and an Intel Core Ultra
                            9 Processor 185H.




                             Source: https://www.asus.com/us/laptops/for-home/everyday-use/asus-vivobook-pro-15-oled-q543/techspec/
                             (last accessed March 6, 2025).




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                                                 EXHIBIT 11
                                      UNITED STATES PATENT NO. 11,805,267
                      CLAIM CHART FOR INFRINGEMENT OF CLAIM19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                             ACCUSED PRODUCTS
                             Source: https://www.intel.com/content/www/us/en/products/sku/236849/intel-core-ultra-9-processor-185h-
                             24m-cache-up-to-5-10-ghz/specifications.html (last accessed March 6, 2025)(specifications for Intel Core
                             Ultra 9 185H).




                             Source: https://developer.nvidia.com/video-encode-and-decode-gpu-support-matrix-new (last accessed March
                             6, 2025)(row for 4060 Laptop GPU).

                             The AV1 decoder in the accused products practices a method for decoding a block of pixels, including
                             when encoding a block of samples using the COMPOUND_REFERENCE prediction mode.




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                                                 EXHIBIT 11
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                      CLAIM CHART FOR INFRINGEMENT OF CLAIM19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                           ACCUSED PRODUCTS




                             AV1 Specification at p. 1 of 669.



                             AV1 Specification at p. 1 of 669.




                             AV1 Specification at p. 2 of 669.




                             AV1 Specification at p. 2 of 669.




                             AV1 Specification at p. 3 of 669.


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                                                 EXHIBIT 11
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                      CLAIM CHART FOR INFRINGEMENT OF CLAIM19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                           ACCUSED PRODUCTS




                             AV1 Specification at p. 4 of 669.




                             AV1 Specification at p. 5 of 669.




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                                                     EXHIBIT 11
                                          UNITED STATES PATENT NO. 11,805,267
                          CLAIM CHART FOR INFRINGEMENT OF CLAIM19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                                    ACCUSED PRODUCTS




                                  AV1 Specification at pp. 181-2 of 669.


[B] determining, for a current    Each of the Accused Products, such as the ASUS Q543MV, performs a method for decoding video
block, a first reference block,   comprising determining, for a current block, a first reference block, a first reference block based on a first
a first reference block based     motion vector and a second reference block based on a second motion vector, wherein the pixels of the
on a first motion vector and a    current block, the first reference block, and the second reference block have values with a first precision.
second reference block based
on a second motion vector,        The Accused Products determine, for a current block, a first reference block based on a first motion vector
wherein the pixels of the         and a second reference block based on a second motion vector, wherein the pixels of the current block, the
current block, the first          first reference block, and the second reference block have values with a first precision when encoding a
reference block, and the          block of samples using the COMPOUND_REFERENCE prediction mode.
second reference block have
values with a first precision;
                                  AV1 employs motion vectors for inter prediction processes. See AV1 Specification at §§ 7.10, 7.11.3.



                                  AV1 Specification at p. 1 of 669.




                                  AV1 Specification at p. 2 of 669.

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                                                 EXHIBIT 11
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                      CLAIM CHART FOR INFRINGEMENT OF CLAIM19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                           ACCUSED PRODUCTS




                             AV1 Specification at p. 4 of 669




                             AV1 Specification at p. 5 of 669.




                             AV1 Specification at p. 153 of 669.




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                                                 EXHIBIT 11
                                      UNITED STATES PATENT NO. 11,805,267
                      CLAIM CHART FOR INFRINGEMENT OF CLAIM19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                            ACCUSED PRODUCTS
                             AV1 Specification at pp. 181-2 of 669.




                             AV1 Specification at pp. 257 of 669.


                             AV1 Specification at pp. 257 of 669.


                             AV1 Specification at pp. 258 of 669.



                             AV1 Specification at pp. 259 of 669.




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                                                     EXHIBIT 11
                                          UNITED STATES PATENT NO. 11,805,267
                          CLAIM CHART FOR INFRINGEMENT OF CLAIM19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                                    ACCUSED PRODUCTS




                                 AV1 Specification at pp. 261-262 of 669.




                                 AV1 Specification at pp. 262 of 669.



[C] using said first reference   Each of the Accused Products, such as the ASUS Q543MV, performs a method for decoding video
block to obtain a first          comprising using said first reference block to obtain a first prediction, said first prediction having a second
prediction, said first           precision, which is higher than said first precision.
prediction having a second
precision, which is higher       Each of the Accused Products performs a method for decoding video comprising using said first reference
than said first precision;       block to obtain a first prediction, said first prediction having a second precision, which is higher than said
                                 first precision. The following specifications provide further evidence of how each of the Accused Products
                                 operates.

                                 When the prediction is generated by interpolation, the procedure at section 7.11.3.4 is used. AV1 uses
                                 subpel_filter[][][], reproduced below, which uses a set of weights that total 128 (27), adding 7 bits of bit
                                 depth in both a horizontal and and vertical filtering step. After the first (horizontal) pass, the intermediate

                                                                    9
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                                                 EXHIBIT 11
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                      CLAIM CHART FOR INFRINGEMENT OF CLAIM19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                               ACCUSED PRODUCTS
                             result is rounded and right-shifted by InterRound0 (which equals 3, except when bit depth is 12, then is
                             equal to 5). After the second horizontal pass, the intermediate result is rounded and right-shifted by
                             InterRound1 (which is 7 when iscompund is equal to 1, except when bit depth is 12, and then is equal to
                             5). When iscompound is equal to 1 and useWarp is 0, then, AV1 generates a prediction with a precision 4
                             greater than the input bit depth.




                             AV1 Specification at pp. 258 of 669.



                             AV1 Specification at pp. 259 of 669.




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                                                 EXHIBIT 11
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                      CLAIM CHART FOR INFRINGEMENT OF CLAIM19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                          ACCUSED PRODUCTS




                             AV1 Specification at pp. 263 of 669.




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                                                 EXHIBIT 11
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                      CLAIM CHART FOR INFRINGEMENT OF CLAIM19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                          ACCUSED PRODUCTS




                             AV1 Specification at pp. 263 of 669.




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                                                 EXHIBIT 11
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                      CLAIM CHART FOR INFRINGEMENT OF CLAIM19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                              ACCUSED PRODUCTS




                             AV1 Specification at pp. 264-266 of 669.




                             AV1 Specification at pp. 19 of 669.




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                                                   EXHIBIT 11
                                        UNITED STATES PATENT NO. 11,805,267
                        CLAIM CHART FOR INFRINGEMENT OF CLAIM19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                               ACCUSED PRODUCTS




                               AV1 Specification at pp. 19 of 669.




                               AV1 Specification at pp. 259 of 669



[D] using said second          Each of the Accused Products, such as the ASUS Q543MV, performs a method for decoding video
reference block to obtain a    comprising using said second reference block to obtain a second prediction, said second prediction having
second prediction, said        a second precision, which is higher than said first precision.
second prediction having the
second precision;              For example, when isCompound is equal to 1, the steps of deriving the prediction is repeated for the
                               second reference:



                               AV1 Specification at pp. 259 of 669.

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                                                   EXHIBIT 11
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                        CLAIM CHART FOR INFRINGEMENT OF CLAIM19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                             ACCUSED PRODUCTS

                             Accordingly, the description of AV1 prediction generation is incorporated by reference from element [C]
                             of claim 19.

[E] obtaining a combined     Each of the Accused Products, such as the ASUS Q543MV, performs a method for decoding video
prediction based at least    comprising obtaining a combined prediction based at least partly upon said first prediction and said second
partly upon said first       prediction.
prediction and said second
prediction;                  For example, and without limitation, each of the Accused Products performs a method for decoding video
                             comprising obtaining a combined prediction based at least partly upon said first prediction and said second
                             prediction, corresponding to the decoding process specified by the AV1 Standard. The following
                             specifications provide further evidence of how each of the Accused Products operates.

                             The AV1 specification provides for 5 different compound prediction types (determined by compound_type).
                             Each of these compound prediction types provides a combined prediction based at least partly upon said
                             first prediction and said second prediction.

                             If compound_type is equal to COMPOUND_AVERAGE, the AV1 specification provides the combined
                             prediction be obtained as follows:



                             AV1 Specification at pp. 259 of 669.

                             If compound_type is equal to COMPOUND_DISTANCE, the AV1 specification provides the combined
                             prediction be obtained as follows:




                             AV1 Specification at pp. 259 of 669.

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                                                 EXHIBIT 11
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                      CLAIM CHART FOR INFRINGEMENT OF CLAIM19 BY ASUS ACCUSED PRODUCTS

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                             The FwdWeight and BckWeight are determined according to section 7.11.3.15.

                             The three other compound_types use a Mask array:




                                  ...




                             AV1 Specification at pp. 259 of 669.

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                                                 EXHIBIT 11
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                      CLAIM CHART FOR INFRINGEMENT OF CLAIM19 BY ASUS ACCUSED PRODUCTS

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                             The AV1 specification describes how the above masks are applied to the predictions obtained from the first
                             and second reference blocks (pred0 and pred1) to obtain a combined prediction:




                             AV1 Specification at pp. 287 of 669.




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                                                   EXHIBIT 11
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                        CLAIM CHART FOR INFRINGEMENT OF CLAIM19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                               ACCUSED PRODUCTS
[F] decreasing a precision of Each of the Accused Products, such as the ASUS Q543MV, performs a method for decoding video
said combined prediction by comprising decreasing a precision of said combined prediction by shifting bits of the combined prediction
shifting bits of the combined to the right.
prediction to the right; and
                              For example, and without limitation, of the Accused Products performs a method for decreasing a precision
                              of said combined prediction by shifting bits of the combined prediction to the right. The following
                              specifications provide further evidence of how each of the Accused Products operates:

                               The AV1 specification provides for 5 different compound prediction types (determined by compound_type).
                               Each of these compound prediction types leads to the application of the Round2 function with an argument
                               based on the InterPostRound quantity.




                               AV1 Specification at pp. 19 of 669.




                               AV1 Specification at pp. 19 of 669.




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                                                 EXHIBIT 11
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                      CLAIM CHART FOR INFRINGEMENT OF CLAIM19 BY ASUS ACCUSED PRODUCTS

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                             AV1 Specification at pp. 259 of 669



                             AV1 Specification at pp. 260 of 669

                             FILTER_BITS is 7 (see AV1 Specification at p. 14 of 669).

                             When isCompound is 1, InterPostRound is 4 (2*7 – (3 + 7)).

                             If compound_type is equal to COMPOUND_AVERAGE, the AV1 specification provides the combined
                             prediction be obtained as follows, where Round2 is applied with 1 + InterPostRound as its second argument.
                             The additional “1” added to the second argument results in an average of preds[0] and preds[1] reduced in
                             precision to the input bit depth:



                             AV1 Specification at pp. 259 of 669.

                             If compound_type is equal to COMPOUND_DISTANCE, the AV1 specification provides the combined
                             prediction be obtained as follows, where Round2 is applied with 4 + InterPostRound as its second argument.
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                                                   EXHIBIT 11
                                        UNITED STATES PATENT NO. 11,805,267
                        CLAIM CHART FOR INFRINGEMENT OF CLAIM19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                                ACCUSED PRODUCTS
                               The additional “4” added to the second argument reduces the bit depth added by FwdWeight and BckWeight,
                               which add to 16 (24) and therefore add a total of 4 bits to the bit depth of the sum in the first argument. See
                               AV1 Specification at p. 286 of 669. The output of the Round2 function is therefore reduced in precision to
                               the input bit depth.




                               AV1 Specification at pp. 259 of 669.

                               The masks used by the remaining compound_types are ultimately used to determine “m” value to use in a
                               weighted sum of the first and second prediction (pred0 and pred1) which sum to 64 (26), which is then passed
                               as the first argument to Round2 with 6 + InterPostRound as the second argument. The output of the Round2
                               function is therefore reduced in precision to the input bit depth.




                               AV1 Specification at pp. 287 of 669.


[G] reconstructing the block   Each of the Accused Products, such as the ASUS Q543MV, performs a method for decoding video
of pixels based on the         comprising reconstructing the block of pixels based on the combined precision.
combined precision.
                               For example, each of the Accused Products performs a method for decoding video comprising reconstructing
                               the block of pixels based on the combined precision, corresponding to the decoding process specified by the
                               AV1 Specification. The following specifications provide further evidence of how each of the Accused
                               Products operates.




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                      CLAIM CHART FOR INFRINGEMENT OF CLAIM19 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 11,805,267                                             ACCUSED PRODUCTS
                             For example, the AV1 Specification defines a Reconstruct process in section 7.12.3 that concludes with the
                             CurrFrame array values being added to Residual array values obtained from the inverse transform block
                             process to yield a new CurrFrame array of reconstructed samples.




                                  ...




                             AV1 Specification at pp. 294-295 of 669.


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                                                 EXHIBIT 11
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